Case 1:21-bk-02637-HWV   Doc 10 Filed 12/17/21 Entered 12/17/21 08:50:34   Desc
                         Main Document    Page 1 of 6
Case 1:21-bk-02637-HWV   Doc 10 Filed 12/17/21 Entered 12/17/21 08:50:34   Desc
                         Main Document    Page 2 of 6
Case 1:21-bk-02637-HWV   Doc 10 Filed 12/17/21 Entered 12/17/21 08:50:34   Desc
                         Main Document    Page 3 of 6
Case 1:21-bk-02637-HWV   Doc 10 Filed 12/17/21 Entered 12/17/21 08:50:34   Desc
                         Main Document    Page 4 of 6
Case 1:21-bk-02637-HWV   Doc 10 Filed 12/17/21 Entered 12/17/21 08:50:34   Desc
                         Main Document    Page 5 of 6
Case 1:21-bk-02637-HWV   Doc 10 Filed 12/17/21 Entered 12/17/21 08:50:34   Desc
                         Main Document    Page 6 of 6
